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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

JOSHUA CAILLIER AND ALACIA CAILLIER,                    CIVIL CASE NO.: 6:20-CV-001384
INDIVIDUALLY AND ON BEHALF OF
THEIR MINOR CHILDREN, KAITLYN                           JUDGE:
CAILLIER, KAIDEN CAILLIER, KYLEIGH
CAILLIER AND KYSON CAILLIER                             MAGISTRATE JUDGE:

VERSUS

APPLE NINE HOSPITALITY OWNERSHIP, INC.
___________________________________________________________________________________


                                         ORDER


      Considering the foregoing Motion for Leave of Court to File First Amending Petition for

Damages:

      IT IS HEREBY ORDERED that Plaintiffs, JOSHUA CAILLIER AND ALACIA

CAILLIER,     individually and on behalf of the estate of the minor children, KAITLYN

CAILLIER, KAIDEN CAILLIER, KHYLEIGH CAILLIER AND KYSON CAILLIER

MONIQUE RICHARDSON and CRAIG RICHARDSON are hereby granted leave to file their

First Amending Petition For Damages.
                                                                       20th
      THIS      ORDER       SIGNED        in       Chambers,   this   _______      day    of
  November
___________________________, 2020.



                    __________________________________________
                                      xxxxxxxxxxxxxxx
                    UNITED STATES DISTRICT     COURT JUDGE




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